
In re Revere, Rodney; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Jefferson, 24th Judicial District Court, Div. “B”, No. 87-328; to the Court of Appeal, Fifth Circuit, No. 95-KH-0049.
Writ granted. The district attorney is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const, art. XII, Sec. 3; R.S. 44:31; State ex rel. Williams v. Whitley, 94-2693 (La. 2/9/95), 649 So.2d 414. The district attorney is further ordered to provide copies of those records upon payment. Under the Public Records Law, R.S. 44:1 et seq., relator *1021may inspect, copy, or obtain a reproduction of the records at his own expense. R.S. 44:31. In addition, the records’ custodian may provide him with copies free or at a reduced charge. R.S. 44:32(0(2). However, relator is not automatically entitled to copies of the documents free of charge as of right, Williams, 94-2693 at 1, 649 So.2d at 414, though he may seek additional relief in the district court upon a showing that he is indigent and has a particularized need for the documents. State ex rel. Bernard v. Cr.D.C., 94-2247 (La. 4/28/95), 653 So.2d 1174.
CALOGERO, C. J., not on panel.
